        Case 4:20-cv-00008-AT Document 352 Filed 10/21/20 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NOTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

JARROD JOHNSON individually, and
on behalf of a Class of persons
similarly Situated,

             Plaintiff,                 Civil Action No. 4:20-cv-00008-AT

v.

3M COMPANY, et al.,

             Defendants.


            DEFENDANT IMACC CORPORATION’S
  JOINDER IN THE CARPET MANUFACTURING DEFENDANTS’
MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

      Defendant IMACC Corporation (“IMACC”) respectfully moves under

Federal Rule of Civil Procedure 12(b)(6) to dismiss Plaintiff’s Second Amended

Complaint (“SAC”) by joining in, adopting, and incorporating by reference The

Carpet Manufacturing Defendants’ Motion to Dismiss Plaintiff’s Second Amended

Complaint and Memorandum in Support of Motion to Dismiss Plaintiff’s Second

Amended Complaint. See Dkt. Nos. 300 and 300-1.

      Although IMACC joins the Carpet Manufacturing Defendants’ motion—

because Plaintiff’s claims against IMACC are barred for all the reasons outlined
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therein—IMACC is not a carpet manufacturer. Nor is it a chemical supplier,

manufacturer, user, or seller of PFAS, the chemicals at issue in this suit. Still, as

explained by the Carpet Manufacturer Defendants, Plaintiff’s alleged damages are

barred from recovery under the economic loss rule; and, even if the economic loss

rule does not apply, Counts Three, Four, Five, Six, and Seven in the SAC fail as a

matter of law for the same reasons stated by the Carpet Manufacturing Defendants.

IMACC thus respectfully requests that Plaintiff’s SAC be dismissed with prejudice

pursuant to Federal Rule of Civil Procedure 12(b)(6).

       This the 21st day of October, 2020.

                                       ALSTON & BIRD LLP

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                                          Corporation




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                     CERTIFICATE UNDER L.R. 7.1.D.

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is a computer document and

was prepared in Times New Roman 14-point font, as mandated in Local Rule 5.1.C.

                                        /s/ Meaghan G. Boyd
                                        Meaghan G. Boyd
                                        Georgia Bar No. 142521




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

JARROD JOHNSON, individually,
and on Behalf of a Class of persons
similarly Situated,
                                              Civil Action No.:
             Plaintiff,                       4:20-cv-00008-AT

v.

3M COMPANY, et al.,

             Defendants.


                          CERTIFICATE OF SERVICE

      I hereby certify that on October 21, 2020, I electronically filed the foregoing

DEFENDANT IMACC CORPORATION’S JOINDER IN THE CARPET

MANUFACTURING DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S

SECOND AMENDED COMPLAINT with the Clerk of Court by using the

CM/ECF system, which has notified all counsels of record.

                           [signature on following page]




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                              /s/ Meaghan G. Boyd
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